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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK

         MAY AGUEZ S.A.,
                                                                        '.-•
                                                                CIVILCASE MANAGEMENT PLAN
                                Plaintiff,
                                                                   AND SCHEDULING ORDER
                        -against-
                                                                  Case No. 16 Civ. 06788 (PGG)(JLC)
         CITIGROUP, INC. and CITIBANK, N.A.,

                               Defendants.


        JAMES L. COTT, U.S.M.J.:

               After consultation with counsel for the parties, the Court adopts the following Civil
        Case Management Plan and Scheduling Order, in accordance with Federal Rules of Civil
        Procedure 16 and 26(f).

        1.     The parties do not agree regarding whether this case is to be tried to a jury.

               a.      Plaintiffs position is that the case should be tried to a jury.

               b.      Defendants' position is that the case should not be tried to a jury.

        2.     No additional parties may be joined except with leave of the Court. Except for
               good cause shown, any motion to join additional parties must be filed within 30
               days from the date of this Order.

        3.     A party may not amend its pleadings except with leave of the Court. Except for
               good cause shown, any motion to amend pleadings must be filed within 30 days
               from the date of this Order.

        4.     The parties must complete fact discovery no later than 12 months from issuance of
               this Order.

        5.     If all parties consent in writing, they may extend the following interim deadlines
               without application to the Court, provided that the parties complete all fact
               discovery by the date set forth in paragraph 4. Under this Order's interim
               deadlines, the parties must:

               a.      Serve initial requests for production of documents within two weeks from
                       issuance of this Order.
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     b.     Serve interrogatories within three weeks from issuance of this Order.

     C.     Complete depositions of fact witnesses within three months after the parties
            inform each other that they have substantially completed their document
            production, which they must do no later than nine months after issuance of
            this Order.

             1.     Unless the parties agree or the Court so orders, the parties may not
                    hold depositions until all parties have responded to initial requests
                    for document production.

             11.     There is no priority in deposition by reason of a party's status as
                     plaintiff or defendant.

             iii.    Unless the parties agree or the Court so orders, non-party
                     depositions must follow initial party depositions.

             iv.     Consistent with Federal Rule of Civil Procedure 30(d), the parties
                     may not extend depositions beyond one business day without prior
                     leave of the Court.

      d.     Serve requests to admit within six months from issuance of this Order.

6.    The parties must complete~ discovery no later than six months after the end of
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      fact discovery) 5" b u.--f To t';' ~<-{" ft. v ,· ~ ~ "\ k C.,, l.-\ f t O t'\ L-t-
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      a.      Every party-proponemthat intends to offer expert testimony in respect of a
              claim - including any counterclaim, cross-claim or third-party claim - must
              make the disclosures required by Federal Rule of Civil Procedure 26(a)(2)
              no later than two months after the end of fact discovery. Every
              party-opponent of such claim that intends to offer expert testimony in
              respect of such claim must make the disclosures required by Federal Rule of
              Civil Procedure 26(a)(2) two months later.

      b.      No party may offer expert testimony - whether designated as "rebuttal" or
              otherwise - beyond the scope of the opinions that the aforesaid disclosures
              cover, except with leave of the Court, application for which must be made
              no later than seven calendar days after the latter of the dates specified in
              paragraph 6(a). The parties may depose all experts, but such depositions
              must occur within the time limit set forth for expert discovery in paragraph
              6.

      c.      Plaintiff anticipates expert testimony concerning the following issue(s):
             (i) Colombian law; (ii) currency hedging instruments; and (iii) damages and
             causation.
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      d.           Defendants anticipate expert testimony concerning the following issue(s):
                   (i) Colombian law; (ii) currency hedging instruments, including but not
                   limited to market context, investor expectations and understanding
                   regarding currency hedging products as against different investor profiles
                   and criteria, and understanding of relationship between counterparties in a
                   currency hedging transaction (including banks and customers); and (iii)
                   damages and causation.

7.    Parties seeking to make post-discovery dispositive motions should submit a letter
      to the Court in accordance with Rule 4(A) of the Court's Individual Practices by
      two weeks after the close of expert discovery. Opposition letters are due one week
      later.

8.    Unless otherwise ordered by the Court, within 30 days from the date for the
      completion of discovery in a civil case or, if a party has filed a dispositive motion,
      then within 30 days of a decision resolving the motion, the parties shall submit to
      the Court for its approval a joint pretrial order prepared in accordance with the
      Court's Individual Practices and Federal Rule of Civil Procedure 26(a)(3).

9.    Counsel for the parties have conferred and their present best estimate of the length
      of trial is: two weeks.

10.   At the close of discovery or, if a party has filed a dispositive motion, then within 30
      days of a decision resolving the motion, the Court will set a Ready Trial Date. At
      any time on or after the Ready Trial Date, the Court may call the parties to trial
      upon 48 hours' notice. Therefore, counsel must notify the Court and their
      adversaries in writing of any potential scheduling conflicts - including, but not
      limited to, trials and vacations - that would prevent a trial at a particular time. Such
      notice must come before the Court notifies counsel of an actual trial date, not after
      counsel receives notification of the actual trial date. Counsel should notify the
      Court and all other counsel in writing, at the earliest possible time, of any
      scheduling problems involving out-of-town witnesses or other exigencies.

11.   Where the parties resolve the case before the entry of judgment, they must submit a
      stipulation of discontinuance - signed by all parties - before the Court will remove
      the case from the trial calendar. If the parties settle within 48 hours of trial or the
      filing of a dispositive motion, they must immediately notify the Court of such
      settlement, and fax to the Court no less than 36 hours before their planned
      appearance, a stipulation of discontinuance, signed by all parties.
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12.   The next pretrial conference is scheduled for A11g11st 23, 2018 at 2:15 p.m. in
      Courtroom 21-D of the United States Courthouse, 500 Pearl Street, New York,
      New York. 'Tl-. e. p ,._ .. -l, ~'$ 5 J.. .. t/ s ~ L..,._,,c         ~6°,   _..+ /c, t Iv, fr, A,.. e_
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       This ORDER may not be modified or the dates herein extended, except by further
Order of this Court for good cause shown. Any application to modify or extend must be
made in a written application in accordance with the Court's Individual Practices.

Dated: New York, New York

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                                                 SO ORDERED.


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